     CASE 0:07-cv-04929-DSD-JJK Document 106 Filed 10/26/10 Page 1 of 1



                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Civil No. 07-4929(2&3)(DSD/JJK)

Katie J. Felder, as trustee for
the next of kin of Dominic Aries Felder,

                 Plaintiff,

v.                                                        ORDER

Jason King, individually and in
his official capacity as a City of
Minneapolis Police Officer; Lawrence
Loonsfoot, individually and in his
official capacity as a City of
Minneapolis Police Officer, and;
the City of Minneapolis,

                 Defendants.


      This matter is before the court on the request made by counsel

to contact jurors who served in this case.          Counsel have assured

the court that they have no intention of criticizing the result

reached.     Accordingly, IT IS HEREBY ORDERED that counsel may

contact the jurors who served in this case and may contact the

District Court Jury Clerk to obtain the jurors' phone numbers.

When contacting the jurors, counsel must inform the jurors that

they have absolutely no obligation to comment on the case.

      Further, counsel must limit their questions to matters of

counsels’ style and presentation and must not discuss matters

relating to the deliberative process or the substantive issues in

the trial.

Dated:   October 26, 2010

                                        s/David S. Doty
                                        David S. Doty, Judge
                                        United States District Court
